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UNITED STATES DISTRICT COURT 2§}1§$§§§2 §§ F}§ §Q: 29
SOUTHERN DISTRICT OF INDIANA v
INDIANAPOLIS DIVISION §. I;.- '
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
v. ) CAUSE NO.
)
KERRI AGEE (a/k/a KERRI t )
AGEE-SMITH), KELLY ISLEY, ) . .
NICOLE SMITH (a/k/a NICOLE ) 1 , 1 9 - C l'_ 0 1 0 3 mw;;;
SMITH-KELSO), CHAD GRIFFIN, ) `
and MATTHEW SMITH, )
)
Defendants_. )
LI~I_Q_I_QM
The Grand Jury charges that:

Introducto§y Allegations

At all times relevant to this Indictment:

l. Banc-Serv Partners LLP (“Banc-Serv’?) Was a lending service provider (“LSP”)
headquartered first in Indianapolis, Indiana and later in Westfield, Indiana. The company’s legal
name Was ADR Partners, LLC. Most of Banc-Serv’s clients were small federally insured lending
institutions located in the Midwest. As an LSP, Banc-Serv packaged, originated, disbursed,
serviced, and liquidated loans guaranteed by the Small Business Administration (“SBA”) on behalf
their lending institution clients.

2. Defendant KERRI AGEE (a/k/a KERRI AGEE-SMITH), a resident of Hamilton

County, was the founder, president, and chief executive officer of Banc-Serv.

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3. Defendant KELLY ISLEY, a resident of Hamilton County, was the chief operating
officer of Banc-Serv.

4. Defendant NICOLE SMITH (Ma NICOLE SMITH-KELSO), a resident of
Marion County, was employed as a relationship manager at Banc-Serv.

5. Defendant CHAD GRIFFIN, a resident of Hamilton County, was a relationship
manager at Banc-Serv, and later the chief marketing officer.

6. Defendant MATTHEW SMITH, a resident of Hamilton County, was a managing
director of Lending Institution #l , an Illinois-based non-bank SBA lending institution that worked
with Banc-Serv to originate SBA loans, and had previously co-founded Banc-Serv with KERRI
l AGEE but left in or around 2005.

7. Co-conspirator Paul Kibiger was employed as a special assets manager at Banc-
Serv.

8. Co-conspirator Kelly Ayers was employed in commercial lending positions at
Lending Institution #2, an Indiana-based federally insured financial institution as defined by 18
U.S.C. § 20 and 18 U.S.C. § 3293(2).

The SBA Lending Program '

9~. The SBA was a government agency that ran a program through which, according .
to certain guidelines, it provided guarantees to loans made by lenders to small businesses. An
SBA guarantee ranged from 50% to 90%. This meant that the SBA would purchase f`rom 50% to
90% of the balance of the guaranteed loan from the note’s holder in the event the borrower

defaulted

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10. The most common guarantee provided by the SBA was through the 7(a) guarantee
program, which was SBA’s general loan program.r To request a 7(a) guarantee, the lender and
borrower had to fill out various applications and forms providing details about the borrower’s
financial condition and the proposed use of loan proceeds. One of the forms that had to be filled
out was an eligibility questionnaire, which contained a checklist of requirements for a loan to be
guaranteed by the SBA. Those requirements included, among others: (l) that proceeds not be
used to pay past-due withholding taxes, and (2) that proceeds not be used to make distributions to,
or pay a debt owed to, an affiliate of the borrower. If either of the boxes were checked, the loan
would be ineligible for a guarantee. At the end of the form, the lender certified the information
provided was true and correct.

l 1. 'An important document in the guarantee process was the loan authorization, which
was the document that listed the various conditions under which the SBA would provide the
guarantee. The SBA would issue a loan authorization after the required forms and applications
' had been submitted As part of the authorization, the lender had to agree that it would maintain
evidence that loan proceeds were used only for eligible purposes in the approximate amounts listed
on the loan authorization Such evidence included a settlement statement, signed at the loan’s
closing by the lender and borrower, showing how loan proceeds were disbursed. If a lender did
not intend to follow the terms and conditions of the authorization, the loan could not be originated

12. In the event a loan defaulted, the lender would have to submit the loan authorization
and settlement statement, among other documents, to the SBA as part of a request that the SBA
honor the guarantee and purchase the balance on the defaulted loan. By submitting these

documents as part of the purchase request, the lender was representing to the SBA, among other

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things, that it had complied with the terms of the loan authorization The lender would also have
to certify that the lender had “materially complied with the SBA Loan Program Requirements (as
defined in 13 CFR 120.10) applicable to this loan” If SBA rules were not followed, the SBA
could deny the guarantee, resulting in losses to the lending institution

13. The SBA had a lending arrangement with certain banks called the Preferred
Lenders Program (“PLP”), under which participating banks were authorized to issue SBA
guarantees for new loans on behalf of the SBA so long as they followed all the relevant SBA
guidelines. In such circumstances, and unlike with the standard 7(a) guarantees, SlBA conducted
little to no review of the loan or the accompanying paperwork before the loan authorization was
issued. There were several SBA loan programs which operated under PLP, including SBA
Express, which was designed for smaller loans,(typically, those $350,000 or less), and the Patriot
Express Pilot Loan Initiative (“Patriot Express”), which provided loans to business owners who
were veterans of the armed services. However, one of the requirements of a PLP-originated loan
was that the guarantee could not have been sought previously via a different SBA program without
explicit approval by an SBA official. The lending institution had to certify to that fact on an
eligibility questionnaire,

l4. The bank originating an SBA-guaranteed loan through SBA Express or Patriot
Express was required to maintain the documents, applications, and questionnaires from the
origination process and submit them at the time the bank actually requested that the SBA purchase
the balance on a defaulted loan By submitting these documents as part of the purchase request,
the lender was representing to the SBA, among other things, that it had complied with the terms

of the SBA Express loan authorization When a purchase request was made for a SBA Express

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or Patriot Express loan, the lender had to certify under penalty of perjury that it “used appropriate
diligence to ensure that disbursements were used exclusively for business related purposes.”

.15. Lenders, or their agents, could request loan authorizations through the SBA Express
or Patriot Express via an online portal called E-Tran. Once the requests were received, the SBA
issue the authorization and assign a loan number, which allowed the loans to close and the proceeds
to be disbursed

16. Lenders had the option of hiring a Lender Service Provider (“LSP”) to package,
originate, disburse, service, or liquidate SBA loans on the lenders’ behalf, including the use of
PLP. In carrying out any of these tasks, the LSP would act as the lender’s agent and frequently
correspond directly with the SBA, submit authorization requests to the SBA through E-Tran, and
submit the loan-purchase requests to the SBA on behalf of the lenders. As an LSP, Banc§Serv
interacted directly with the SBA on behalf of its clients at all stages of packaging, originating,
servicing, and liquidating SBA loans. b

Other Related Entities

17 . Loan Officer #1 was employed in commercial lending positions at Lending
Institution #3, an Iowa-based federally insured financial institution as defined by 18 U.S.C. § 20
and 18 U.S.C. § 3293(2).

18. Loan Officer #2 was employed in commercial lending positions at Lending
lnstitution #3.

19. Borrower #1 was an Indiana-based business that in or around December 2004
obtained a $l,400,000 SBA-guaranteed loan from Lending Institution #4, an Indiana-based

l federally insured financial institution as defined by 18 U.S.C_. § 20 and 18 U.S.C. § 3293(2).

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20. Borrower #2 was an Iowa-based business that in or around October 2007 obtained
a $350,000 SBA-guaranteed loan from Lending Instituti-on #3.

21.` Borrower #3 was an Iowa-based business that in or around November 2007
obtained a $2,000,000 SBA-guaranteed loan from Lending Institution #3.

22. Borrower #4`was an Iowa-based business that in or around January 2008 obtained
a $225,000 SBA-guaranteed loan from Lending Institution #3, which obtained the guarantee
through SBA Express

23. Borrower #5 was a Nebraska-based business that in or around June 2008 obtained
a $1,200,000 SBA-guaranteed loan from Lending Institution #1.

24. Borrower #6 was an Iowa-based business that in or around April 2009 obtained a
$35,000 SBA-guaranteed loan from Lending Institution #3, which obtained the guarantee through
SBA Express

25. Borrower #7 Was an indiana-based business that in or about April 2010 obtained
a $350,000 SBA-guaranteed loan from Lending Institution #2, which obtained the guarantee
through Patriot Express f f

The Fraudulent Scheme
Overview of the Scheme

26. The Defendants, co-conspirators, other Banc-Serv employees, and lending officers
at other banks or lending institutions, would seek to obtain SBA guarantees for loans that did not
meet SBA’s guidelines and requirements To ensure the loans would appear to meet SBA lending
guidelines, the Defendants and co-conspirators would make false statements on loan-guarantee

applications and purchase requests sent to the SBA about matters such as a borrower’s eligibility

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to receive a loan and how loan proceeds would be disbursed Specifically, but not exclusively,
the Defendants and their co-conspirators worked to obtain SBA-guaranteed financing for ineligible
expenses and uses of money-such as past-due payroll taxes and personal debt_by falsely
designating the loan proceeds going to those ineligible expenses and uses as “working capital,”
which were funds for a business’s normal operating expenses Additionally, the Defendants and
their co-conspirators abused PLP authority by submitting applications for loans and borrowers that
the SBA had previously deemed to be ineligible. The Defendants knew these practices were
against SBA guidelines When the loans defaulted, the Defendants and co-conspirators would
submit the same misrepresentations in the loan' applications authorizations settlement statements
and questionnaires as part of purchase requests to the SBA to ensure that the banks originating the
SBA-guaranteed loans or the secondary-market investors that had purchased the guaranteed
portions of the loans would be compensated As a result, the SBA incurred losses by purchasing
loans that, had it known of the misrepresentations made in the loan files by the co-conspirators it
never would have guaranteed in the first place.

l 27. Over the course of, and in fiartherance of, the fraudulent scheme, which began no
later than November 2004 and ended on or about October 12, 2017, the Defendants and their co-
conspirators originated dozens of loans totaling over $10 million in disbursements which were
not eligible for SBA guarantees

Pu_rpose of the Scheme
28. -The purpose of the scheme was for the Defendants and co-conspirators (a) to
generate additional unlawful revenue for Banc-Serv_and ultimately compensation for

themselves-in the form of packaging fees servicing fees and fees for selling the guaranteed

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portions of the loans to investors and (b) to conceal the ineligible loans from the SBA so Banc-
Serv would not have to indemnify the lending institutions the secondary-market investors or the
SBA for having originated and sold ineligible loans that ultimately defaulted

Loan to Borrower #1

29. As set forth below, KERRI AGEE and MATTHEW SMITH originated an SBA-
guaranteed loan in which they instructed the borrower to take $50,000 of loan proceeds designated
as working capital to make it appear that the borrower had made a $50,000 equity injection when
the borrower had not in fact done so.

30. In or around November 2004, 'KERRI AGEE prepared an SBA 7(a) loan
application on behalf of Lending Institution #4 for a $1,400,000 loan made in the name of
Borrower #1. The loan proceeds were going to be used to finance the purchase of the business by '
the new owners

.31. On or about December 2, 2004, the SBA issued a loan authorization for Lending
Institution #4 to make a $1,400,000 guaranteed loan to Borrower #1. The authorization allowed
$65,004.20 to be used for working capital. The authorization also required the lender to “obtain
evidence that prior to disbursement . . . [a]t least $50,000.00 cash has been injected into the
business as equity capital.”

32. KERRI AGEE, as Lending Institution #4’s agent, had no intention of following
the terms and conditions of the authorization when she caused the loan to be funded On or about
December 17, 2004, one of the new owners of Borrower /#1 negotiated a check numbered 3663 in
the amount of $50,000 with the memo line “Equity Injection.” KERRI AGEE and MATTHEW

SMITH were aware that the new owner did not have the filnds in his account to support that check.

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Immediately prior to negotiating that check, KERRI AGEE and MATTHEW SMITH told the
new owner of Borrower #l to bring that check to the closing of the SBA loan in or around
December 17, 2014. They told him that the $50,000 that was supposed to be the equity injection
would be paid from the loan proceeds labeled working capital.

33. On or about December 17, 2004, KERRI AGEE and KELLY ISLEY created a
Settlement statement for Borrower #l falsely listing that $65,004.20 of loan proceeds would be
used for working capital. They prepared the settlement statement knowing that, in the event
Borrower #l defaulted, it would be sent to the SBA in support of a request that SBA honor the
loan guarantee.

34. On or about December 20, 2004, after the SBA loan had been settled, Borrower #1
received a check drawn on Lending Institution #4 for $5_0,000 to balance out the $50,000 in the l
equity injection check, These funds were proceeds of the SBA loan that closed on that day.

35. On or about September 3, 2009, after Borrower #l had defaulted on its SBA-
guaranteed loan, a Banc-Serv employee electronically transmitted to the SBA the loan
authorization and the false settlement statement that had been prepared by KERRI AGEE and
_KELLY ISLEY and signed at closing in support of a request that the SBA. purchase the
outstanding balance on the loan that Lending Institution #4 had made to Borrower #1. The
purchase request also contained a false certification by an employee at Lending Institution #4 that
Lending Institution #4 “has materially complied with the SBA Loan Program Requirements (as
defined in 13 CFR 120.10) applicable to this loan.” The SBA did purchase the outstanding

balance on the Borrower #l loan

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Loan to Borrower #2

36. As set forth below, KERRI AGEE, KELLY ISLEY, and NICOLE SMITH
originated an SBA loan in which they lied to the SBA about the borrower’s size, resubmitted the
denied loan under a fabricated name to avoid further SBA scrutiny, and refinanced ineligible debt
by falsely designating loan proceeds as working capital. b

37. On or about October 5, 2007, NICOLE SMITH sent to the SBA an SBA 7(a) loan
application that she had prepared on behalf of Lending lnstitution #3 for a $350,000 loan to be
made to Borrower #2. The application proposed that 8150,000 of the SBA loan proceeds would
be used to repay a personal loan that Borrower #2’s owner had made to Borrower #2.

38. On or about October 15, 2007, the SBA faxed a letter denying the loan application
for Borrower #2, stating that the loan proceeds could not be used to pay ineligible affiliate debt
(i.e., the owner’s loan to Borrower #2) and that Borrower #2 was too large to qualify for an SBA
loan. On or about the same day, NICOLE SMITH forwarded the denial letter to KELLY
ISLEY and KERRI AGEE, asking, “[c]an we go over this Tuesday morning?”

39. On or about October 18,' 2007, in an attempt to make Borrower #2 appearto be
small enough to qualify for the SBA loan, KELLY ISLEY spoke with an SBA official and falsely
told the official that Borrower #2’s affiliate had already closed when in fact it had not yet done so.

40. On or about October 23, 2007, the SBA official responded to KELLY ISLEY’s
inquiry, “Based on the information that the affiliate ceased operations in the lst quarter of 2007
and no longer exists it would appear that we do not need to count the affiliate for SIZE.” KELLY
ISLEY forwarded the response to NICOLE SMITH, while copying KERRI AGEE, and added,

“WORK YOUR MAGIC! ! ! !”

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41. On or about October 23, 2007, KELLY ISLEY emailed NICOLE SMITH,
copying KERRI AGEE, to tell her that she received a call from an SBA official who had questions
about the Borrower #2 loan application KELLY ISLEY told NICOLE SMITH to “remember
that l told [a different SBA official] opeations ceased in jan Of this year.”l NICOLE SMITH
responded that the SBA “has the package With the interims dated for July 31 , 2007 after [KELLY
ISLEY] told [the SBA] the company shut down in January.” Upon receipt of that email, KELLY
ISLEY emailed KERRI AGEE that she “fibbed [to the SBA official] to get this one done,” and
asked her how they should handle this issue with Loan Officer #l, the Lending lnstitution #3
official handling the Borrower #2 application

42. Later that day, NICOLE SMITH emailed KERRI AGEE and KELLY ISLEY to
tell them that the SBA was also asking for “a breakdown on use of the 8150,000 we moved from
paying the affiliate business to working capital, [the SBA] wants to know exactly where it is
going.” ` KELLY ISLEY responded to both KERRI AGEE and NICOLE SMITH that they
would proceed with only one owner on the SBA application but that they would “most likely have
to withdraw the application then resubmit.”

43. On or about October 26, 2007, KELLY ISLEY, copying KERRI AGEE and
NICOLE SMITH, told the SBA via email that Banc-Serv and Lending Institution #3 were
withdrawing the request for the first loan, “as the borrower has decided to go a different route with
the bank as too much time has passed.” This was not true, as KELLY ISLEY, KERRI AGEE,
and NICOLE SMITH intended to resubmit the loan under a different business name so that the

SBA would not connect the previously denied loan with the new loan application

 

1 All typographical errors in quotations have been reproduced as they originally appear.

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44. On or about October 29, 2007, NICOLE SMITH prepared a second SBA 7(a) loan
application for Borrower #2, using a fictitious company name that was slightly changed from
Borrower #2’s actual company name. NICOLE SMITH falsely indicated that $200,000 of the
proceeds of the $330,000 SBA-guaranteed loan for Borrower #2 would be used for “working
'capital,” when in fact 8150,000 of that amount would actually be used by the proprietors of
Borrower #2 to pay the debt of an affiliate, which the SBA had previously cited as a reason to deny
the first loan NICOLE SMITH also prepared the settlement statement knowing that, in the
event Borrower #2 defaulted, it would be sent to the SBA in support of a request that SBA honor
the loan guarantee

45. On or about October 29, 2007, NICOLE SMITH, KERRI AGEE, and KELLY
ISLEY, working on behalf of Lending Institution #3, caused the settlement statement and loan
application containing the misrepresentations about the use of proceeds the company name, and
the size of the company, to be transmitted via email to the SBA. b

46. After the SBA had authorized the guarantee for the new loan, the loan was funded
On or about November 15, 2007, NICOLE SMITH, on behalf of Loan Officer #l, submitted an
amendment to the SBA switching the name of the new loan back to the actual name of Borrower
#2. The SBA official who granted this request was not the same official who denied the initial
loan, and was unaware of the earlier-denied application

47. On or about August 19, 2012, KERRI AGEE and KELLY ISLEY, working on
behalf of Lending Institution #3, caused the settlement statement and loan authorization in the
name of Borrower #2, containing misrepresentations about use of proceeds and the size of the

borrowing company at the time the authorization had been sought, to be electronically transmitted

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to the SBA in support of a request that the SBA purchase the outstanding balance on the loan to
Borrower #2. The SBA did purchase the outstanding balance on the Borrower #2 loan
Loan to Borrower #3

48. As set forth below, KERRI AGEE, KELLY ISLEY, and NICOLE SMITH
originated an SBA-guaranteed loan in which they concealed from the SBA the involvement of an
owner of the borrowing business by resubmitting the denied loan under a fabricated business name
and removing that owner from the loan when the ownership had not in fact changed

49. l On or about October ll, 2007,y NICOLE SMITH prepared an SBA 7(a) loan
application on behalf of Lending Institution #3 for a $2,000,000 loan made in the name of
Borrower #3, a company that had two 50 percent owners-Owner # l , who was listed as the “CEO”

' of Borrower #3, and Owner #2, listed as the “President.” On or about October 16, 2007, the SBA
denied the loan application by Borrower #3, stating that Owner #2 had previously defaulted on an
SBA loan, had an outstanding civil judgment against him, and had a poor credit history.

50. On or about October 16, 2007, KERRI AGEE emailed Loan Officer #l, copying
KELLY ISLEY and NICOLE SMITH, telling him that they had to make Owner #2 have no
more than a 20 percent stake in the company in order to qualify for the SBA loan

51. On or about October 17, 2007, NICOLE SMITH submitted a reconsideration
request for Borrower #3, at KELLY ISLEY and KERRI AGEE’s direction, and with the
borrower’s consent, had changed its ownership structure to make Owner #2 a 15 percent minority
owner instead of a 50 percent owner. On or about October 17, 2007, however, the SBA once
again denied the loan, because the agency considered ownership changes over the previous six

months to determine who was the owner of a borrowing company.

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52. On or about October 18, 2007, KELLY ISLEY spoke with an SBA official about
the denial, and then wrote an email to NICOLE SMITH and KERRI AGEE, “[Owner #2] can
not be a key employee at all. . . .i told [SBA official] he would be employed there but not a vital
part of the operations.” As KELLY ISLEY, NICOLE SMITH, and KERRI AGEE then knew,
Owner #2 still intended to be a vital part of the operations

53. In response, NICOLE SMITH, at KELLY ISLEY and KERRI vAGEE’s
direction prepared a new application for the loan to Borrower #3. To ensure the SBA did not
connect the denied loan to the new loan NlCOLE SMITH changed Borrower #3’s name to be a
sole proprietorship in the name of Owner #1, with a fictitious company name that was slightly
changed from the original Borrower #3 name. However, the loan application still sought
$2,000,000 for the same purposes On this application the company was listed as only having
one owner-Owner #1. Owner #2’s signature was whited out from the signature page.

54. On or about October 24, 2007, NICOLE SMITH emailed KELLY ISLEY and
KERRI AGEE and asked whether Owner #1 and Loan Officer #l should be updated about the

plan to withdraw and resubmit under a different name for Borrower #3. KELLY ISLEY
responded, “l don’t think you have to call [Loan Officer #l] . . . . they will not know the difference
on it ..... :)”

55. On or about October 24, 2007, NICOLE SMITH transmitted this second
application via email to the SBA, knowing it was under a false name and that it falsely indicated
that the company was to be solely owned by Owner >#1. Neither Owner #l nor Owner #2 were
told about changing the company’s name or removing Owner #2 from the loan entirely. The SBA

approved the loan application and Lending Institution #3 disbursed the requested funds

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56. In emails in or around November 2007 between KERRI AGEE and NICOLE
SMITH regarding questions that were being asked about the change in ownership by an outside
contractor evaluating a separate loan that Borrower #3 was attempting to obtain KERRI AGEE
instructed NICOLE SMITH to falsely claim that Owner #2 was no longer an owner of the
company. ,Specifically, after NICOLE SMITH asked KERRI AGEE whether she should “tell ~>
[the contractor] the SBA would'not fund with [Owner #2] because he was in default,” KERRI
AGEE responded that NICOLE SMITH should “just tell [the contractor] [Owner #1] financially
decided to do it himself with out a partner.”

Loan to Borrower #4

57. As set forth below, KERRI AGEE and NICOLE SMITH originated a loan in
which they misrepresented that the loan had not been previously submitted to the SBA and
refinanced ineligible debt by falsely designating loan proceeds as- working capital.

58. In or around December 2007, NICOLE SMITH prepared an SBA 7(a) loan
application on behalf of Lending Institution #3 for a $300,000 loan made in the name of Borrower
#4. The application and accompanying materials proposed using SBA-guaranteed funds to pay
back an owner of Borrower #4 for a $100,000 loan made to Borrower #4 by the owner.

59. On or about January 9, 2008, the SBA sent a letter to NICOLE SMITH, who had
submitted the application on behalf of Loan Officer #2 at Lending Institution #3, denying the
application on the grounds that (l) that the proposed loan payment to the affiliate using SBA-
guaranteed funds was an ineligible use of proceeds and (2) that the proposed loan did not have

enough collateral to secure it.

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60. On or about January 23, 2008, NICOLE SMITH emailed KERRI AGEE about
Loan Officer #2, “asking if we can withdraw the 7a authorization and submit as an Express to
relieve the collateral issue on the [personal real estate].” Under SBA policy, submitting a loan
through SBA Express was not a permissible way to address a denial by the SBA, and the SBA
Express eligibility questionnaire notified the lender of this prohibition

61. On or about January 23, 2008, KERRI AGEE emailed NICOLE SMITH to tell
her that she had to withdraw the first denied application before she could resubmit under SBA
Express KERRI AGEE also told NICOLE SMITH, “SBA will have to post to their system
and make sure it is completely out of their system so there is no problem!” NICOLE SMITH
told KERRI AGEE she was working on the withdrawal letter and that she would wait for
confirmation from SBA before resubmitting.

l 62. On or about January 23, 2008, the initial application for the loan in the name of
Borrower #4 was withdrawn via letter sent in the name of Lending Institution #3 and Loan Officer
#2. b On or about January 24, 2008, the SBA sent a reply letter back directly to NICOLE SMITH
confirming that the loan had been withdrawn

63. On or about January 23, 2008, NICOLE SMITH prepared and faxed an SBA
Express application for a $225,000 term loan and an SBA Express application for a $50,000
working capital line of credit for Borrower #4. On the guarantee eligibility questionnaire for the
term loan NICOLE SMlTH intentionally did not mark the box indicating the loan had been
sought under a different SBA program, when in truth Borrower #4 was seeking to refinance the

same debt listed'in the original 7(a) loan application

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64. On or about January 29, 2008, NICOLE SMITH emailed the closing statement to
Loan Officer #2, while copying KERRI AGEE, and stated, “Attached is the closing statement
you requested You will notice that there is not a line to pay off [the owner], however that
$100,000 is lumped into Working Capital. [Borrower #4].will have to cut [the owner] a check
separately.i’ The $100,000 payment to the owner was what the SBA had previously denied in the
7(a) guarantee request,

Loan to Borrower #5 l

65. As set forth below, KERRI AGEE, CHAD GRIFFIN, and MATTHEW SMITH
originated an SBA-guaranteed loan in which they falsely designated loan proceeds as working
capital to conceal the impermissible payment of delinquent taxes

66. On or about April 15, 2008, Lending lnstitution #1 brought a proposed loan to
Borrower #5 to Banc-Serv for assistance in obtaining an SBA guarantee Borrower #5 had over
$700,000 in past-due payroll taxes and Lending Institution #1 would not agree to fund the loan
unless the taxes were paid off. `

67. On or about April 25, 2008, CHAD GRIFFIN emailed an employee of Lending
lnstitution #1, copying KERRI AGEE, MATTHEW SMITH, and one other individual who
worked for Lending Institution #1, and asked him what the “accrued liabilities” line item in the
Lending Institution #1 write-up of the Borrower #5 loan referred to. That employee responded
that they refer to past-due payroll taxes Then KERRI AGEE responded to the group and said
that the write-up “can not show we are paying past due taxes” on the Borrower #5 SBA loan
KERRI AGEE continued to say that “[t]hese would have to be categorized as working capital and

we would have to justify what the working capital would be used for. Again we would not be

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able to state back taxes” The Lending Institution #1 employee responded that this is why he took
it out of the project summary. KERRI AGEE then asked if the payroll taxes were mentioned in
the “use of proceeds” section but the employee responded that “[i]t mentions paying accrued
` liabilities but I can change that to Excess Cash Available if needed.”

68. On or about May 8, 2008, CHAD GRIFFIN emailed an employee of Lending
Institution #1, copying KERRI AGEE, MATTHEW SMITH and one other individual who
worked for Lending Institution #l , and said that they “are going to need the use of proceeds in the
write-up to say that the funds that will 'be used to play the Accrued Liabilities (Payroll Taxes) are
for working capital. "The SBA will not let us pay back taxes with loan proceeds I understand it
is not referenced in the write-up however SBA will trace this back to tax returns”

69. 7 In or about May 2008, CHAD GRIFFIN prepared application for a $1,200,000
SBA 7(a) loan on behalf of Lending Institution #l and Borrower #5 and uploaded them to a file
share website for the SBA to later download. According to the applications prepared by CHAD
GRIFFIN, Borrower #5 would receive $809,757 for working capital. On the guarantee eligibility
- questionnaire filled out by CHAD GRIFFIN and signed by MATTHEW SMITH, which had to
accompany the loan application they intentionally did not check the box indicating that loan funds l
would be used “to repay delinquent IRS withholding taxes.”

70. On or about June 13, 2008, the SBA authorized its guarantee of the loan with
$l91,105 designated to “pay trade or accounts payable” and $618,652 for “working capital.” At
th`e time, CHAD GRIFFIN, MATTHEW SMITH, and KERRI AGEE knew and intended that
approximately $770,000 of those funds Would be used by Borrower #5 to pay past-due payroll

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71 .' The sum total of the accounts payable and working capital listed on the SBA
settlement statement, which CHAD GRIFFIN had prepared and a copy of which MATTHEW
SMITH had signed at closing, was $770,363.50, the approximate amount going to pay the past-
due taxes The settlement statement was false. On or about June 20, 2008, the date the SBA loan
closed, Borrower #5 paid the IRS for an unpaid tax liability in the amount of $770,342.3 1 . CHAD
GRIFFIN, MATTHEW SMITH, and KERRI AGEE knew that the SBA would rely on the false
settlement statement in the event the loan defaulted and a purchase request was submitted to the
SBA.

72. On or about February 22, 2013, after Borrower #5 had defaulted on their SBA-
guaranteed loan Banc-Serv Employee #l electronically uploaded to a file share website a purchase
request package_for download by the SBA_for the loan that Lending lnstitution #1 had made
to Borrower #5. The package included the false settlement statement that had been prepared by
` CHAD GRIFFIN as well as the loan authorization

73. When the `SBA was deciding whether to honor the guarantee, it scrutinized whether
the actual use of proceeds matched the loan authorization On or about April 18, 2014, Paul
Kibiger used the false settlement statement prepared by CHAD GRlFFIN to support the position
that the majority of the loan’s proceeds had been used for working capital in accord with the loan
authorization when this was not in fact true. The SBA did purchase the outstanding balance on
the Borrower #5 loan

Loan to`Borrower #6
74. As set forth below, KERRI AGEE, KELLY ISLEY, and NICOLE SMITH

originated an SBA-guaranteed loan in which they falsely designated loan proceeds as working

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capital to conceal the impermissible payment of delinquent taxes and misrepresented that the loan
had not been previously submitted to the SBA.

75. On about March 19, 2009, Loan Officer #2 from Lending lnstitution #3 brought to
KELLY ISLEY a proposed $35,000 loan that was to be made to Borrower #6, for which they
were seeking an SBA `guarantee. In the original lender write-up, Loan Officer #2 stated that
purpose of the loan was to “provide working capital to pay past due payroll taxes” At the time,
KELLY ISLEY knew that SBA loan proceeds could not be used to pay past-due payroll taxes
For example, in an email dated July 29, 2008, KELLY ISLEY, copying KERRI AGEE and
NICOLE SMITH, had written regarding a different loan “[P]ayroll taxes are not allowed to be
paid out of the working capital proceeds.” Nevertheless, KELLY ISLEY proposed hiding from
the SBA that loan proceeds from Borrower #6’s loan would be used to pay past-due payroll taxes
In a March 19, 2009 email responding to Loan Officer #2, KELLY ISLEY, while copying
KERRI AGEE, wrote regarding the payroll taxes ‘5We will just state working capital since this
better fits ~ is that OK?” Loan Officer #2 replied, “Yes it is.”

76. On or about around April 3, 2009, NICOLE SMITH, at KERRI AGEE and
KELLY ISLEY’s direction prepared a SBA 7(a) loan application on behalf of Borrower #6 and
Lending Institution #3. NICOLE SMITH caused the revised lender write-up to omit any
mention of delinquent payroll taxes so that the SBA would not know that the working capital
proceeds would be used for an impermissible purpose. NICOLE SMITH also intentionally did
not check the box on the eligibility questionnaire indicating that loan proceeds were going to be

used to pay past-due taxes which would have made the loan ineligible. On or about April 21,

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2009, NICOLE SMITH uploaded the loan application along With the lender write-up and
eligibility questionnaire, to a file share site for later download by the SBA.

77. On or about May 5, 2009, SBA faxed a letter to Lending lnstitution #3 and
NICOLE SMITH denying the Borrower #6 loan because the owner of Borrower #6 had poor
credit history. In its letter, SBA said that “SBA relies heavily on an applicant’s credit history to v
give an indication of future performance.”

78. On or about May 7, 2009, KELLY ISLEY emailed NICOLE SMITH, copying
KERRI AGEE, and told them that she was going to contact the SBA to see if she could get the
loan through, and if not, “then We will withdraw and take express.”

79. On or about May 12, 2009, KELLY ISLEY emailed Loan Officer #2, copying
KERRI AGEE and NICOLE SMITH, and said that she thought “we should go ahead andtake
Express because I can’t get anyone to return my calls on this.”

80. Following this series of emails NICOLE SMITH prepared the same loan to be
submitted via SBA Express On the SBA Express eligibility questionnaire that had to be filled
out and maintained in the loan file, NICOLE SMITH intentionally did not check the box
indicating that the application had previously been submitted under another SBA program.
NICOLE SMITH had Loan Officer #2 sign the questionnaire at the loan’s closing, which
occurred on or about May 20, 2009.

81. On or about January 24, 2013, after Borrower #6 had defaulted on their SBA-
guaranteed loan Banc-Serv Employee #1 electronically uploaded to a file share website a purchase
request package_for download by` the SBA_for the loan that Lending lnstitution #3 had made

' to Borrower #6. The package included the false settlement statement and false eligibility

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questionnaire that had been prepared by NICOLE SMITH and signed by Loan Officer #2 at
closing, as well as the loan authorization The SBA did purchase the outstanding balance on the
Borrower #6 loan

82. As part of the liquidation process for the $35,000 loan to Borrower #6, Banc-Serv
worked to liquidate two other SBA guaranteed loans made by Lending lnstitution #3 that Borrower
#6 had defaulted on On or about January 24, 2013, Banc-Serv Employee #1 emailed KELLY
ISLEY and told her that in the origination process of one of these other loans to Borrower #6,
Banc-Serv had not included the required environmental assessment, and that they could find no
evidence that such an assessment had ever been completed Banc-Serv Employee #1 said that if
they did not include one in the process of requesting the SBA purchase the outstanding balance,
the loan would likely be charged a repair by the SBA. Banc-Serv Employee #1 asked KELLY
ISLEY if they should just have someone at Lending lnstitution #3 create one now, adding that
“[i]n the past they have been hesitant to complete anything bac_kdated” KELLY ISLEY 1
responded, “[y]es l would request them to sign it. lf there was nothing they saw at the time and
nothing in [Iowa Department of Environmental Protection] records from then then it would be
reasonable they did not know there was problems” On or about March 7, 2013, Banc-Serv
Employee #1 emailed KELLY ISLEY and KERRI AGEE and confirmed that the signed,
backdated environmental assessments were sent to the SBA on or about January 31, 2013,

Loan to Borrower #7

83. As set forth below, KERRI AGEE originated an SBA-guaranteed loan in which

she falsely designated loan proceeds as working capital to conceal the refinancing of ineligible `

personal debt.

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84. On or about March 31, 2010, KERRI AGEE contacted Kelly Ayers a loan officer
at Lending lnstitution #2, with a proposal for Lending lnstitution #2 to make a $350,000 SBA-
guaranteed loan to Borrower #7, which was looking to refinance business and personal debt,
including student loans.

85. ln the original lender write-up, dated April 16, 2010, Kelly Ayers wrote that
$240,000 of the loan proceeds would be used to refinance debt, On or about April 16, 2010,
t KERRI AGEE caused a request for a loan authorization under the Patriot Express to be submitted
' to the SBA through the SBA’s E-Tran portal that stated $235,000 would-be used to refinance debt

and $85,000 would be used for working capital.

86. Between April 16, 2010 and April 21, 2010, KERRI AGEE told Kelly Ayers the
loan officer at Lending lnstitution #2 handling the Borrower #7 loan they should reclassify
$107,909.13 in student debt that was ineligible to be paid from SBA-guaranteed loan funds as
working capital so that the SBA would approve the loan

87. On or about April 21, 2010, KERRI AGEE caused a modification to be made to
the loan authorization such that it listed $227,000 as going towards working capital, when in fact,
as KERRI AGEE knew and intended, over 8100,000 of those proceeds Would be used to pay off
ineligible student debt.

88. On or about April 21, 2010, at the closing of the Borrower #7 loan Kelly Ayers
and a representative of Borrower #7 signed settlement statements falsely indicating that
$224,902.15 of the proceeds of the SBA-guaranteed loan for Borrower #7 would be used for
“working capital,” when in fact 8107,909.13 of that amount would actually be used by the owners

of Borrower #7 to pay off student debt.

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89. On or about April 1, 2014, after Borrower #7 had defaulted on their SBA-
guaranteed loan, Paul Kibiger transmitted the false settlement statement that KERRI AGEE had
prepared and Kelly Ayers had signed in support of a request that the SBA purchase the outstanding
balance on the loan that Lending lnstitution #2 had made to Borrower #7. The SBA did purchase
the outstanding balance on the Borrower #7 loan

Additional Fraudulent Conduct

90. The Defendants undertook additional fraudulent conduct in furtherance of the
scheme, examples of which are set forth below,

91. On or about July ;19, 2007, KELLY ISLEY, copying KERRI AGEE, emailed an
SBA official to ask whether SBA loan proceeds could be used by a borrower to pay the $800,000
that remained of a $2.1 million fine that had been imposed by the Department of Justice. The
SBA official responded, “[I]t would be a no-no for one federal agency to guaranty a loan to pay a
fine levied by another federal agency.” KELLY ISLEY forwarded the SBA official’s response
to MATTHEW SMITH, CHAD GRIFFIN, KERRI AGEE, and an employee Lending
lnstitution #1, and said, “so the only way aroundthis is for [Lending lnstitution #l] to do an interim
note and state it is for Working capital. We will have to tell SBA what the funds were used for
therefore, you can not state anywhere in your note it is for the payment of a government agency
fine.”

92. In another instance, on or about April 24, 2009, the SBA sent a letter to Banc-Serv
and a loan officer at Lending lnstitution #3, denying a loan application that had been prepared by
NICOLE SMITH. The SBA denied the application according to the letter, because, “the request

for an additional $62,984 in working capital cannot be approved.” The letter from the SBA

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further stated: “The additional working capital would appear to provide the applicant with means
necessary to pay down or renegotiate and or/ refinance the [bank] debt SBA has previously
determined to be ineligible for SBA assistance. As the working capital funds cannot be monitored
and the appearance of circumvention of SBA policy appears to exist, we cannot approve the
proposed increase in working capital nproceeds.” After receiving this letter via a service that
converts incoming faxes to email attachments KERRI AGEE forwarded it to NICOLE SMITH, .
copying KELLY ISLEY and CHAD GRIFFIN, and added, “They got us”
COUNT 1
(Conspiracy to Commit Wire Fraud Affecting a Financial Institution)
[Title 18, United States Code, Section 1349]

93. Paragraphs 1 through 92 of this Indictment are incorporated by reference as though
set forth fully herein

94. Beginning no later than November 2004, and continuing until in or around October
2017, in Hamilton County, in the Southern District of Indiana, and elsewhere, the Defendants,

KERRI AGEE,
KELLY ISLEY,
NICOLE SMITH,
CHAD GRIFFIN, and
MATTHEW SMITH,

did willfully and knowingly combine, conspire, confederate, and agree with employees of Banc-
Serv and other persons known and unknown to the Grand Jury, did knowingly, and with intent to
defraud, intend to devise a scheme and artifice to defraud, and to obtain money and property by
means of materially false and fraudulent pretenses representations and promises and, for the

purpose of executing such scheme and artifice and attempting to do so, to transmit and cause to be

transmitted, certain wire communications in interstate commercez all affecting financial

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institutions as defined under 18 U.S.C. § 20 and 18 U.S.C. § 3293(2), in violation of 18 U.S.C.
§ 1343.
Purgose of the Conspiracy
95. Paragraph 28 is incorporated as a description of the purpose of the conspiracy.
Mgmer Mean_§)f the Consgiracy

96. In furtherance of this conspiracy, and to accomplish its object, the methods
manners and means that were used are described in paragraphs 26 to 92, and incorporated by
referenced as though set forth fully herein v

All of which is in violation of Title 18, United States Code,‘ Section 1349.

COUNTS 2-5
(Wire Fraud Affecting a Financial Institution)
[Title 18, United States Code, Sections 1343 and 2]

97 . Paragraphs 1 through 92 of this Indictment are incorporated by referenced as
though set forth fully herein

98.» Beginning no later than November 2004, and continuing until in or around October
2017, in the Southern District of Indiana and elsewhere, the Defendants herein together with
others known and unknown to the Grand Jury, did knowingly, and with intent to defraud, devise a
scheme and artifice to.defraud and to obtain money and property by means of false and fraudulent
pretenses representations and promises knowing that such pretenses representations and
promises were false and fraudulent when made, all affecting a financial institution as defined under
18 U.S.C. § 20 and 18 U.S.C. § 3293(2),

99. On or about the dates specified as to each count below, the Defendants specified

below, for the purpose of executing the aforesaid scheme and artifice to defraud, and attempting

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to do so, did knowingly transmit and cause to be transmitted certain wire communications in

interstate commerce, as more particularly described below:

 

Financial

Count Defendant(s) Date , ere Descrlption lnstitution Affected

 

Electronic file
transfer of application
KERRI AGEE, for guarantee of
2 KELLY ISLEY, 4/21/09 Borrower #6 from
NICOLE SMITH - Southern District of
Indiana to SBA office

in'California

Electronic file
transfer of request to
honor SBA guarantee

of Borrower #1 loan Financial

from Southern lnstitution #4
District of Indiana to

SBA Office in

Virginia

Electronic file
transfer of request to
honor SBA guarantee

of Borrower #6 loan Financial

from Southern lnstitution #3
District of Indiana to

SBA office in

Califomia
Email containing
request to honor SBA
guarantee for
Borrower #7 sent , Financial

from Southern lnstitution #2
District of Indiana to

SBA office in

Califomia

Financial
lnstitution #3

 

3 KERRI AGEE 09/03/2009

 

KERRI AGEE,
4 KELLY ISLEY, ' 1/24/2013
NICOLE SMITH

 

KERRI AGEE,
5 KELLYISLEY, 4/1/2014 .
NICOLE SMITH

 

 

 

 

 

 

 

All of which is in violation of Title 18, United States Code, Sections 1343 and 2.

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COUNT 6
(Conspiracy to Make False Statements in Purchases and Applications for Guarantees)
[Title 18, United States Code, Section 371]

100. Paragraphs 1 through 92 of this Indictment are incorporated by reference as though
set forth fully herein

101. Beginning no later than November 2004, and continuing until in or around October
2017, in Hamilton County, in the Southern District of Indiana, and elsewhere, the Defendants

KERRI AGEE,
KELLY ISLEY,
NICOLE SMITH,
CHAD GRIFFIN, and
MATTHEW SMITH,
knowingly and willfully conspired and agreed with employees of Banc-Serv and other persons
known and unknown to the Grand Jury to commit an offense against the United States, namely
making false statements for the purpose of influencing the action of the Small Business
Administration in connection with provisions of the Small Business Investment Act of 1958, upon
any purchase, purchase agreement, repurchase agreement, and application for a guarantee, in
` violation of 18 u.s.c. § 101'4.
Purpose of the Conspiracy
102. Paragraph 28 is incorporated as a description of the purpose of the conspiracy
Manrlers and Mea_ns of the Conspiracy

103. ' In furtherance of this conspiracy, and to accomplish its object, the methods

manners and means that were used are described in paragraphs 26 to 92, and incorporated by

referenced as though set forth fully herein

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In furtherance of the conspiracy and to achieve its object and purpose, at least one of the '
co-conspirators committed and willfully caused others to commit the following overt acts among
others within the Southern District of Indiana and elsewhere:

104. On or about April 21, 2009, KERRI AGEE, KELLY ISLEY, and NICOLE
SMITH, working on behalf of Lending lnstitution #3, caused an application and eligibility
questionnaire for a guarantee for a loan to Borrower #6, containing misrepresentations about the
use of proceeds to be submitted to an SBA loan-processing center in Citrus Heights Califomia.

105. On or about April 24, 2009, KERRI AGEE wrote, “[t]hey got us” in an email she
forwarded to KELLY ISLEY, NICOLE SMITH, and CHAD GRIFFIN, which contained a
denial letter from the SBA in Which an SBA official explained his suspicions that working capital
proceeds would be diverted to pay down debt the SBA had previously deemed ineligible.

106. On or about September 3, 2009, KERRI AGEE, working on behalf of Lending
lnstitution #4, caused the settlement statement and loan authorization in the name of Borrower #l ,
containing misrepresentations about the use of proceeds and the existence of an equity injection
to be transmitted to the SBA in support of a request that the SBA purchase the outstanding balance
on the loan to Borrower #1.

107. On or about August 19, 2012, KERRI AGEE and KELLY ISLEY, working on
behalf of Lending lnstitution #3, caused the settlement statement and loan authorization in the
name of Borrower #2, containing misrepresentations about use of proceeds and the size of the
borrowing company at the time the authorization had been sought, to be transmitted to the SBA in

support of a request that the SBA purchase the outstanding balance on the loan to Borrower #2.

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108. On or about January 24, 2013, KERRI AGEE, KELLY ISLEY, and NICOLE
SMITH, working on behalf of Lending lnstitution #3, caused the loan authorization and eligibility
questionnaire in the name of Borrower #6, containing misrepresentations about the fact that the
loan had been previously submitted under another SBA loan program, to be transmitted to the SBA
in support of a request that the SBA purchase the outstanding balance on the loan to Borrower #6.

109. On or about February 22, 2013, KERRI AGEE, CHAD GRIFFIN, and
MATTHEW SMITH caused the loan authorization and settlement statement in the name of
Borrower #5, containing misrepresentations about the use of proceeds to be transmitted to the
SBA in support of a request that the SBA purchase the outstanding balance on the loan to Borrower
#5.

110. On or about April 1, 2014, KERRI AGEE, working on behalf of Lending
lnstitution #2, caused the loan authorization and settlement statement in the name of Borrower #7,
containing misrepresentations about the use of proceeds to be transmitted to the SBA in support
of a request that the SBA purchase the outstanding balance on the loan to Borrower #7.

All in violation of Title 18, United States Code, Section 371.

COUNTS 7-13 _
(False Statements in Purchases and Applications for Guarantees)
[Title 18, United States Code, Sections 1014 and 2]

11 l. Paragraphs l through 92 and 104 through 110 of this Indictment are incorporated
by reference as though set forth fully herein

112. On or about the dates specified as to each count below, in the Southern District of
Indiana and elsewhere, the Defendants specified below, knowingly made, caused to be made, and

aided and abetted the making of, false statements specified as to each count below, for the purpose

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of influencing the action of the Small Business Administration in connection with provisions of
the Small Business Investment Act of 195 8, upon any purchase, purchase agreement, repurchase

agreement, and application for a guarantee, as more particularly described below:

 

Count Defendant(s) Date Description
False statement regarding proposed use of
proceeds in application for SBA guarantee for

 

KERRI AGEE, Borrower #6 loan in that $35,000 of loan
7 KELLY ISLEY, 4/21/2009 proceeds would be used for working capital
NICOLE SMITH when in fact, as the defendants then well

knew, $20,000 of the $35,000 was to be used
to pay delinquent taxes

False eligibility questionnaire in application

fort SBA guarantee for Borrower #6 loan in

 

' KERRI AGEE, y that the box disclosing that loan proceeds
8 KELLY ISLEY, 4/21/2009 were to be used to pay delinquent taxes was
NICOLE SMITH » not checked when in fact, as the defendants

then well knew, loan proceeds were to be
used for that purpose
False settlement statement in request for SBA
to purchase balance on Borrower #1 loan in
that $65,004.20 was listed as going toward
working capital, when in fact, as the
9 KERRI AGEE 9/03/2°°9 defendant then weu knew, $50,000 er the
7 $65,004.20 was used to make it appear that an
owner of Borrower #1 had made a $50,000
equity injection required by the SBA
False certification that lender had complied
with SBA program requirements in request
` ' for SBA to purchase balance on Borrower #l
10 KERRI AGEE 9/03/2009 loan when in fact, as the defendant then well
'knew, the borrower had not provided $50,000
equity injection
False eligibility questionnaire in request for
SBA to purchase balance on Borrower #6
loan in that the box disclosing that the loan

 

 

 

KERRI AGEE, had been previously submitted under another
ll KELLY ISLEY, 1/24/2013 SBA program had not been checked when in

NICOLE SMITH fact, as the defendants then well knew, the
. loan had been previously submitted and
denied by the SBA under its standard 7(a)
` processing

 

 

 

 

 

 

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Count Defendant(s) Date , Description
- False settlement statement in request for SBA
to purchase balance on Borrower #5 loan, in
that $l91,105 was listed as going toward
KERRI AGEE, 2/22/2013 accounts payable and $579,258.50 as going
CHAD GRIFFIN toward working capital, when in fact, as the
defendants then well knew, $770,342.31 of
the total amount, 8770,363.50, had been used
to pay delinquent taxes _
False settlement statement in request for SBA
§ to purchase balance on Borrower #7 loan in
KERRI AGEE, that 8107,909.13 was listed as going toward
13 KELLY ISLEY, 4/1/2014 working capital, When in fact, as the
NICOLE SMITH defendants then well knew, $107,897.32 of
that amount had been used to pay student
loans

12

 

 

 

 

 

 

 

In violation of Title 18, United States Code, Sections 1014 and 2.
FORFEITURE
113. The allegations contained in paragraphs l through 92 and 104 through 110 of this
Indictment are hereby realleged and incorporated by reference for the purpose of alleging
forfeitures pursuant to Title 18, United States Code, Section 982(a)(2)(A), as part of any sentence
imposed
114. Pursuant to _Title 18, United States Code, Section 982(a)(2)(A), if convicted of the
' offenses set forth in Counts l through 13 of this lndictment, the Defendants,
KERRI -AGEE,
KELLY ISLEY,
NICOLE SMITH,
CHAD GRIFFIN, and
MATTHEW SMITH,

shall forfeit to United States of America:

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a. any property, real or personal, that constitutes or is derived, directly or
indirectly, from gross proceeds traceable to the offenses; or

b. a sum of money equal to the total amount of the proceeds of the offenses

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115. If any of the property described above, as a result of any act or omission of the

Defendants:

d.

C.

difficulty;

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided without

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section

982(b)(1).

A TRUE BILL:

F! !!PERSON

JosH J. MINKLER
United States Attomey
Southern District of Indiana

ROBERT ZINK 4
Acting Chief, Fraud Section
Criminal Division U.S. Department of Justice

mma/tee

William Jolmston

Vasanth Sridharan

Trial Attomeys Fraud Section

Criminal Division, U.S. Department of Justice

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